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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA


                                        Plaintiff
                                                                           NOTICE OF MOTION
-vs-

                                                                           CaseNo. 19-CR-227
JOSEPH BONGIOVANNI,
PETER GERACE, JR.


                                        Defendants.


SIRS:


                          PLEASE TAKE NOTICE that upon the annexed Declaration of Steven M. Cohen, Esq.,
with attached exhibits, duly sworn to on the 29”' day on December. 2022, and upon the indictment and
other proceedings previously had herein, the undersigned will move this Court, at a term to be held in the
United States Courthouse, Buffalo, New York, on the                   day of January, 2023 at 10:00 in the forenoon
of that date, or as soon thereafter as counsel may be heard, for an order granting the following relief:


                (1) Amendment of the conditions of Mr. Gerace’s release pursuant to 1 8 U.S.C. § 3145 (a)(2);
                    and
                (2) Such other and further relief as the Court deems proper.




DATED:                    December 29, 2022
                          Amherst, New York


                                                                 Respectfully Submitted,


                                                                 Sz            M. CcPliiA,


                                                                 Steven M. Cohen. Esq.
                                                                 Attorneyfor Defendant Gerace
                                                                 HoganWillig. PLLC
                                                                 2410 North Forest Road, Suite 301
                                                                 Amherst, New York 14068
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TO:             TRINI E. ROSS, ESQ.
                United States Attorney for the Western District of New York
                138 Delaware Avenue
                Buffalo, New York 14202




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